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                                                                         8                        IN THE UNITED STATES DISTRICT COURT
                                                                         9                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         10
                                                                         11   UNITED STATES OF AMERICA,                   No     CR-05-0491 VRW
United States District Court




                                                                         12                   Plaintiff                          ORDER
                               For the Northern District of California




                                                                         13
                                                                                              v
                                                                         14
                                                                         15   SEMYON NEYS et al,
                                                                         16                   Defendant.
                                                                                                                 /
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                                                                         18
                                                                         19             Defendant Paul Ancajima appeals the magistrate judge’s
                                                                         20   detention order.     For reasons stated below, the court affirms the
                                                                         21   magistrate judge’s order.
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                                                                         23                                       I.
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                                                                         25             On July 28, 2005, a grand jury indicted Ancajima for
                                                                         26   violating 21 USC § 846 (conspiracy to distribute methamphetamine
                                                                         27   and 3,4 methylenedioxymethamphetamine, otherwise known as MDMA or
                                                                         28   “ecstasy”), and 21 USC § 841(b)(1)(C) (distribution of MDMA).            Doc
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                                                                         1    #31.   The maximum penalties prescribed by statute for the charged
                                                                         2    offenses are life imprisonment and twenty years imprisonment,
                                                                         3    respectively.
                                                                         4                 Because the Controlled Substances Act prescribes a
                                                                         5    maximum penalty of at least ten years imprisonment for the offenses
                                                                         6    with which Ancajima has been charged, he faces a rebuttable
                                                                         7    presumption “that no conditions or combinations of conditions will
                                                                         8    reasonably assure the appearance of the person as required and the
                                                                         9    safety of the community.”       18 USC § 3142(e).              After hearing the
                                                                         10   parties and reviewing the Pretrial Services Report, the magistrate
                                                                         11   concluded that Ancajima failed to rebut this presumption and
United States District Court




                                                                         12   ordered that Ancajima be detained while he awaits trial.                       Doc #68.
                               For the Northern District of California




                                                                         13   Ancajima appealed.       Doc #80.
                                                                         14
                                                                         15                                         II.
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                                                                         17                When reviewing a magistrate’s detention order, a district
                                                                         18   court “should review the evidence before the magistrate and make
                                                                         19   its own independent determination whether the magistrate’s findings
                                                                         20   are correct, with no deference.”          United States v Koenig, 912 F2d
                                                                         21   1190, 1193 (9th Cir 1990).       “[T]he district court is to make its
                                                                         22   own ‘de novo’ determination of the facts, whether different from or
                                                                         23   an adoption of the findings of the magistrate,” and “the ultimate
                                                                         24   determination of the propriety of detention is also to be decided
                                                                         25   without deference to the magistrate’s ultimate conclusion.”                      Id.
                                                                         26                As noted, Ancajima faces a rebuttable presumption that
                                                                         27   his release would pose a risk of flight and danger to the
                                                                         28   community.    This places upon Ancajima the burden of producing some

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                                                                         1    evidence to rebut the presumption.           If Ancajima satisfies that
                                                                         2    burden, the burden of production shifts to the government to show
                                                                         3    by clear and convincing evidence that Ancajima is a danger to
                                                                         4    community and by a preponderance of the evidence that he poses a
                                                                         5    risk of flight.   See United States v Quartermaine, 913 F2d 910,
                                                                         6    916-17 (11th Cir 1990).     The government bears the burden of
                                                                         7    persuasion at all times.     See id at 916.
                                                                         8              Section 3142(g) lists factors the court should consider
                                                                         9    in determining whether there are conditions of release that will
                                                                         10   reasonably ensure both the safety of the community and the
                                                                         11   defendant’s appearance in court.        “These include the nature and
United States District Court




                                                                         12   circumstances of the offense charged, including whether the offense
                               For the Northern District of California




                                                                         13   involves a narcotic drug; the weight of the evidence against the
                                                                         14   person; the history and characteristics of the person, including
                                                                         15   the person’s character, family ties, employment, financial
                                                                         16   resources, length of residence in the community, community ties,
                                                                         17   past conduct, history relating to drug or alcohol abuse, criminal
                                                                         18   history, and record concerning appearance at court proceedings; and
                                                                         19   the nature and seriousness of the danger to any person or the
                                                                         20   community that would be posed by the person’s release.”                    United
                                                                         21   States v Reuben, 974 F2d 580, 586 (5th Cir 1992).
                                                                         22
                                                                         23                                      III.
                                                                         24
                                                                         25             Ancajima is 18 years old, unmarried, has no children, and
                                                                         26   owns no real property within or without this judicial district.
                                                                         27   Pretrial Servs Rept (PSR) at 1S2.           He is a lifelong resident of San
                                                                         28   Francisco and resided (sporadically) with his aunt prior to the

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                                                                         1    events leading to his current predicament.             As a juvenile, he was
                                                                         2    charged with offenses arising from possession of tobacco, joyriding
                                                                         3    and fistfighting.   PSR at 2.
                                                                         4               Neither Ancajima nor his family possess sufficient
                                                                         5    financial assets to post bail.     Although his mother and aunt are
                                                                         6    willing to sign as sureties on a bond securing his release, their
                                                                         7    financial assets are negligible.        Counsel for Ancajima emphasizes
                                                                         8    his family ties to this judicial district as evidence that he will
                                                                         9    appear in court as necessary.     The United States argues that
                                                                         10   because Ancajima appears to have ready access to large quantities
                                                                         11   of controlled substances for distribution, he will pose a danger to
United States District Court




                                                                         12   the community if released.
                               For the Northern District of California




                                                                         13              Generally, family ties alone will not rebut the
                                                                         14   presumption if they are “not the sort of family ties from which we
                                                                         15   can infer that a defendant is so deeply committed and personally
                                                                         16   attached that he cannot driven from it by the threat of a long
                                                                         17   prison sentence.”   Reuben, 974 F2d at 586.            In light of all the
                                                                         18   circumstances reflected in the record, the court cannot conclude
                                                                         19   that Ancajima’s familial bonds so tether him to this judicial
                                                                         20   district that there is not a significant risk of him fleeing given
                                                                         21   the serious penalties he potentially faces.
                                                                         22              Accordingly, the court agrees with the magistrate judge
                                                                         23   that Ancajima has failed to rebut the presumption created by §
                                                                         24   3142(e).   The court, however, is willing to reconsider the matter
                                                                         25   if Ancajima can provide some meaningful form of security for his
                                                                         26   release.
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                                                                         1                                        IV
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                                                                         3              The magistrate judge’s order detaining Ancajima is
                                                                         4    AFFIRMED, and it is hereby ORDERED that Ancajima’s detention shall
                                                                         5    continue pending trial.     If Ancajima comes forward with security
                                                                         6    for his release, the court will reconsider its order upon proper
                                                                         7    motion.
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                                                                         11             IT IS SO ORDERED.
United States District Court




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                               For the Northern District of California




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                                                                         14                                     VAUGHN R WALKER
                                                                         15                                     United States District Chief Judge
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